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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                 No. 3:17-CR-00625-K (01)

LIMBIC PARTNERS, LLC

                               SATISFACTION OF JUDGMENT

        Judgment was entered against the defendant, in the above-entitled cause in the

United States District Court, for the Northern District of Texas under case number 3:17-

CR-625-01. The judgment in the amount of $933,651.97 has been paid or otherwise

satisfied. The Clerk of the United States District Court is hereby authorized to release

this judgment of record. This release does not apply to any forfeiture obligations of the

defendant.

                                          Respectfully submitted,


                                          ERIN NEALY COX
                                          United States Attorney

                                          /s/ Beverly K. Chapman
                                          BEVERLY K. CHAPMAN
                                          Assistant United States Attorney
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                                    CERTIFICATE OF SERVICE

      The undersigned certifies that in accordance with Fed. R. Civ. P. 5, LR 5.1, and
Fed. R. Crim. P. 49, LCrR 49.2, and the Miscellaneous Order on Electronic Case Filing
(ECF), the following document:

                                      Satisfaction of Judgment

was served on April 30, 2018, pursuant to the district court’s ECF system and via first-
class mail to the following non-ECF filer:

LIMBIC PARTNERS, LLC
Arlington, Texas 1
Defendant

                                                         /s/ Beverly K. Chapman
                                                         BEVERLY K. CHAPMAN
                                                         Assistant United States Attorney




1
 The United States served the defendant-judgment debtor by regular mail to the defendant’s last known
address, as criminal defendants are required to notify the Attorney General and the court of any change in
mailing address or residence and to provide notification of any change in economic circumstances until
any fine or restitution has been paid in full. See 18 U.S.C. §§ 3612(b)(1)(f), 3572(d)(3), and 3664(k).



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